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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     ROBERT ALLEN BOHANNA
6

7

8
                    IN THE UNITED STATES DISTRICT COURT
9
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,     )         2:07-cr-0201 FCD
12                                 )
                    Plaintiff,     )
13                                 )
          v.                       )         STIPULATION AND ORDER CONTINUING
14                                 )         STATUS CONFERENCE
     ROBERT ALLEN BOHANNA and      )
15   NORMAN GRESHAM III,           )         DATE: February 25, 2008
                                   )         Time: 10:00 a.m.
16                  Defendants.    )         Judge: Frank C. Damrell Jr.
     ______________________________)
17
          Defendant ROBERT ALLEN BOHANNA, by and through his counsel,
18
     DENNIS S. WAKS, Supervising Assistant Federal Defender, defendant
19
     NORMAN GRESHAM III, by and through his counsel, CHRISTOPHER
20
     HAYDN-MYER, and the United States Government, by and through its
21
     counsel, WILLIAM S. WONG, Assistant United States Attorney,
22
     hereby stipulate that the status conference/change of plea
23
     hearing set for February 4, 2008 be rescheduled for a status
24
     conference/change of plea hearing on February 25, 2008, at 10:00
25
     a.m. for both defendants.
26
          This continuance is being requested because defense counsel
27
     require additional time to negotiate plea agreements, to continue
28

                                         1
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1    to review discovery, discuss the case with the government, pursue
2    investigation, and negotiate a proposed disposition.
3         The parties submit that the ends of justice are served by
4    the Court excluding such time through February 25, 2008, so that
5    they may have reasonable time necessary for effective
6    preparation, taking into account the exercise of due diligence.
7    18 U.S.C. § 3161(h)(8)(B)(iv) (Local T4).
8

9 DATE: January 31, 2008                     Respectfully Submitted,
10                                           McGREGOR W. SCOTT
                                             United States Attorney
11

12                                            /s/ Dennis S. Waks for
                                             WILLIAM S. WONG
13                                           Assistant U.S. Attorney
14

15 DATED: January 31, 2008                   /s/ Dennis S. Waks
                                             Supervising Assistant
16                                           Federal Defender
                                             Attorney for Defendant
17                                           ROBERT ALLEN BOHANNA
18
     DATED: January 31, 2008                 /s/ Christopher Haydn-Myer
19                                           CHRISTOPHER HAYDN-MYER
                                             Attorney for Defendant
20                                           NORMAN GRESHAM, III
21
          IT IS SO ORDERED.
22

23 Dated: February 1, 2008

24

25
                                  _______________________________________
26                                FRANK C. DAMRELL, JR.
                                  UNITED STATES DISTRICT JUDGE
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